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1    DAVID M. GARLAND, SBN 223679
     455 Capitol Mall #455
2    Sacramento, CA 95814
3    (916) 366-1069
     dgarland@rocketmail.com
4
     Attorney for Alicia McCoy
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6
                                       IN THE UNITED STATES DISTRICT COURT
7
                                    FOR THE EASTERN DISTRICT OF CALIFORNIA
8                                                    )
     UNITED STATES OF AMERICA,                           Case No. 2:19-CR-00043-MCE-3
                                                     )
9                                                    )
                                    Plaintiff,           ORDER PERMITTING TEMPORARY
                                                     )   RELEASE OF DEFENDANT FROM
10                                                   )
               v.                                        CUSTODY TO DEFENSE INVESTIGATOR
                                                     )   FRED SCOVILLE
11                                                   )
     ALICIA McCOY,
                                                     )
12                                                   )   Hearing Date: September 24, 2019
                                    Defendant.
                                                     )   Time: 2:00 p.m.
13                                                   )   Judge: Hon. Allison Claire
14
15
16                                    ORDER FOR TEMPORARY RELEASE
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18
                 BASED ON THE REPRESENTATIONS OF THE PARTIES, and good cause
19
20              appearing to exist, the Court orders the following:

21
22                  1. ALICIA MARIE McCOY, (DOB ) shall be released from the
23                      Sacramento County Jail in Sacramento, California on a "Temporary Out"
24
                        on September 26, 2019 at 8:00 a.m., to the temporary custody of
25
                        Investigator Fred Scoville, who has agreed to serve as her third-party
26
27                      custodian.

28                  2. Upon temporary release, Alicia McCoy shall remain with the third-party
      Order for Temporary Release
     dEFE                                                -1-                       US v.McCoy 2:19-cr-00043-MCE
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1
2                 custodian while traveling from the Sacramento County Jail to visit her
3                 terminally ill father who is currently in hospice care in Elk Grove
4                 Village, Illinois. Investigator Scoville shall remain with Ms. McCoy at
5
                  all times, including during the trip to and from the airport, during the
6
                  departing and return flights, and during the visit with her father.
7
8
9                 3. Investigator Scoville shall return Alicia McCoy to the Sacramento
10                County Jail by 7:00 p.m. on Sunday, September 29, 2019.
11
12         DATED: September 25, 2019
13                                            ALLISON CLAIRE
14                                            UNITED STATES MAGISTRATE JUDGE

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      Order for Temporary Release
     dEFE                                          -2-                      US v.McCoy 2:19-cr-00043-MCE
